Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 1 of 63 Page ID
                                 #:2787
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 2 of 63 Page ID
                                 #:2788
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 3 of 63 Page ID
                                 #:2789
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 4 of 63 Page ID
                                 #:2790
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 5 of 63 Page ID
                                 #:2791
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 6 of 63 Page ID
                                 #:2792
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 7 of 63 Page ID
                                 #:2793
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 8 of 63 Page ID
                                 #:2794
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 9 of 63 Page ID
                                 #:2795
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 10 of 63 Page ID
                                 #:2796
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 11 of 63 Page ID
                                 #:2797
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 12 of 63 Page ID
                                 #:2798
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 13 of 63 Page ID
                                 #:2799
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 14 of 63 Page ID
                                 #:2800
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 15 of 63 Page ID
                                 #:2801
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 16 of 63 Page ID
                                 #:2802
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 17 of 63 Page ID
                                 #:2803
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 18 of 63 Page ID
                                 #:2804
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 19 of 63 Page ID
                                 #:2805
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 20 of 63 Page ID
                                 #:2806
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 21 of 63 Page ID
                                 #:2807
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 22 of 63 Page ID
                                 #:2808
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 23 of 63 Page ID
                                 #:2809
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 24 of 63 Page ID
                                 #:2810
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 25 of 63 Page ID
                                 #:2811
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 26 of 63 Page ID
                                 #:2812
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 27 of 63 Page ID
                                 #:2813
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 28 of 63 Page ID
                                 #:2814
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 29 of 63 Page ID
                                 #:2815
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 30 of 63 Page ID
                                 #:2816
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 31 of 63 Page ID
                                 #:2817
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 32 of 63 Page ID
                                 #:2818
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 33 of 63 Page ID
                                 #:2819
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 34 of 63 Page ID
                                 #:2820
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 35 of 63 Page ID
                                 #:2821
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 36 of 63 Page ID
                                 #:2822
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 37 of 63 Page ID
                                 #:2823
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 38 of 63 Page ID
                                 #:2824
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 39 of 63 Page ID
                                 #:2825
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 40 of 63 Page ID
                                 #:2826
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 41 of 63 Page ID
                                 #:2827
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 42 of 63 Page ID
                                 #:2828
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 43 of 63 Page ID
                                 #:2829
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 44 of 63 Page ID
                                 #:2830
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 45 of 63 Page ID
                                 #:2831
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 46 of 63 Page ID
                                 #:2832
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 47 of 63 Page ID
                                 #:2833
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 48 of 63 Page ID
                                 #:2834
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 49 of 63 Page ID
                                 #:2835
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 50 of 63 Page ID
                                 #:2836
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 51 of 63 Page ID
                                 #:2837
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 52 of 63 Page ID
                                 #:2838
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 53 of 63 Page ID
                                 #:2839
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 54 of 63 Page ID
                                 #:2840
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 55 of 63 Page ID
                                 #:2841
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 56 of 63 Page ID
                                 #:2842
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 57 of 63 Page ID
                                 #:2843
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 58 of 63 Page ID
                                 #:2844
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 59 of 63 Page ID
                                 #:2845
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 60 of 63 Page ID
                                 #:2846
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 61 of 63 Page ID
                                 #:2847
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 62 of 63 Page ID
                                 #:2848
Case 2:18-cv-02217-SJO-FFM Document 98-2 Filed 11/13/18 Page 63 of 63 Page ID
                                 #:2849
